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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 20-cv-60808-SINGHAL/Valle

 ABIMAEL ROSADO, on behalf of himself
 and all others similarly situated,

         Plaintiff,

 v.

 ATLAS APEX ROOFING, LLC d/b/a Atlast-
 Apex Roofing,

      Defendant.
 __________________________________/

      ORDER REQUIRING SCHEDULING REPORT, CERTIFICATE OF INTERESTED
      PARTIES,1 AND STATEMENT OF CLAIM AND RESPONSE IN FLSA CASE AND
        REFERRAL TO MAGISTRATE JUDGE FOR SETTLEMENT CONFERENCE

         THIS CAUSE is before the Court upon sua sponte review of the record. The

 Complaint in this action is filed under the Fair Labor Standards Act, 29 U.S.C. § 201 et

 seq., (“FLSA”). In order to assist the Court in the management of this case, and in an

 effort to foster early and cost-effective resolution, the parties are ORDERED to comply

 with the following procedures:

         Statement of Claim

      1. No later than twenty-one (21) days from the date of this Order, Plaintiff is

 directed to file a “Statement of Claim” setting forth the following information with respect

 to each Plaintiff:

                       i.   An initial estimate of the total amount of alleged unpaid wages;
                      ii.   A preliminary calculation of such wages;



 1
   The parties must not include Judge Singhal and the assigned U.S. Magistrate Judge as
 interested parties unless they have an interest in the litigation.
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                iii.   The approximate period during which the alleged FLSA violations
                       occurred; and,
                iv.    The nature of the wages (e.g., overtime or straight time).

     2. Within seven (7) days of an appearance by a Defendant, Plaintiff shall file a

 notice of compliance that it has served a copy of this Order, the Statement of Claim, and

 copies of all supporting documents (including time sheets, pay stubs, etc.) upon counsel

 for Defendant(s).

     3. Within twenty-one (21) days of service of Plaintiff’s Statement of Claim,

 Defendant(s) shall file a “Response to Plaintiff’s Statement of Claim” setting forth in detail

 any defenses to Plaintiff’s claim(s) and serve copies of all supporting documents.

        Joint Scheduling Report

     4. Within twenty-one (21) days of an appearance by a Defendant in this matter,

 the parties shall prepare and file a joint scheduling report, as required by Local Rule 16.1. 2

 The joint scheduling report and proposed order shall include all information required by

 Local Rule 16.1(b)(2) and (3). In addition, at the time of filing the joint scheduling report,

 the parties, including governmental parties, must file certificates of interested parties and

 corporate disclosure statements that contain a complete list of persons, associated

 persons, firms, partnerships, or corporations that have a financial interest in the outcome

 of this case, including subsidiaries, conglomerates, affiliates, parent corporations, and

 other identifiable legal entities related to a party (to the extent they have not already done

 so). Throughout the pendency of the action, the parties are under a continuing obligation

 to amend, correct, and update the certificates.



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  The parties may “meet in person, by telephone, or by other comparable means.” Local
 Rule 16.1(b)(1).

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        Detailed Discovery Schedule: Local Rule 16.1(a) provides for a differentiated

 case management system based on the complexity of each case and the requirement for

 judicial involvement. That system categorizes cases along three case management

 tracks: expedited, standard, or complex.

        •   Expedited track cases are relatively non-complex, require 1 to 3 days
            of trial, and between 90 and 179 days for discovery from the date of the
            scheduling order.

        •   Standard track cases require 3 to 10 days of trial, and between 180
            and 269 days for discovery from the date of the scheduling order.

        •   Complex track cases are unusually complex, require over 10 days of
            trial, and between 270 and 365 days for discovery from the date of the
            scheduling order.

 “The following factors [are] considered in evaluating and assigning cases to a particular

 track: the complexity of the case, number of parties, number of expert witnesses, volume

 of evidence, problems locating or preserving evidence, time estimated by the parties for

 discovery and time reasonably required for trial, among other factors.” S.D. Fla. L.R.

 16.1(a)(3).

        Federal Rule of Civil Procedure 26(b)(1) allows discovery regarding any

 nonprivileged matter that is relevant to any party’s claim or defense and proportional to

 the needs of the case, considering the importance of the issues at stake in the action, the

 amount in controversy, the parties’ relative access to relevant information, the parties’

 resources, the importance of the discovery in resolving the issues, and whether the

 burden or expense of the proposed discovery outweighs its likely benefit. The parties shall

 participate in good faith in developing a detailed discovery plan, including any agreed-

 upon limitation on scope, frequency and the extent of discovery. The parties shall include

 in their scheduling report any unique discovery matters, including any electronically stored

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 information that should be preserved and accessed. The parties shall establish a detailed

 schedule for the preservation, disclosure and access of each different type or category of

 electronically stored information.

        Consistent with the differentiated case management system, other relevant local

 rules (such as Local Rule 16.2, regarding mediation), and the twin goals of expeditious

 and attentive case management, the Court anticipates the following scheduling deadlines

 in the run of cases:

        •   Selection of a mediator and scheduling of a time, date and place for
            mediation within 30 days of the scheduling order.

        •   Deadline to amend pleadings and join parties within 60 days of the
            scheduling order.

        •   Completion of all discovery consistent with the case management track
            guidelines, and 120 days prior to trial.

        •   Completion of mediation prior to the deadline for dispositive pre-trial
            motions.

        •   Deadline for dispositive pre-trial motions and Daubert motions (which
            include motions to strike experts) 100 days prior to trial.

        •   Deadline for submission of joint pre-trial stipulation, proposed jury
            instructions and verdict form, or proposed findings of fact and
            conclusions of law, as applicable, 10 days prior to trial.

        •   Calendar call one week prior to trial.

        The parties should address their joint scheduling report and their proposed pre-

 trial deadlines both to the differentiated case management system and to the Court’s

 anticipated deadlines. The parties are encouraged to explain their proposed deadlines in

 light of those overarching guidelines, including as to the factors listed in Local Rule

 16.1(a)(3). The parties are cautioned that if they fail to submit a joint scheduling

 report by the applicable deadline, the Court may unilaterally set this case on a case

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 management track in accordance with Local Rule 16.1(a) and calculated as if the

 scheduling report had been timely filed.

        Referral to Magistrate Judge for Settlement Conference

        This matter is REFERRED for purposes of a settlement conference before

 Magistrate Judge Alicia O. Valle to occur within sixty (60) days of Defendant(s)

 Response to Plaintiff’s Statement of Claim. Counsel shall confer and jointly contact the

 Magistrate Judge’s Chambers prior to the due date for the response by Defendant(s) to

 Plaintiff’s statement of claim in order to schedule the settlement conference. The

 Magistrate Judge will issue an Order Scheduling Settlement Conference outlining the time

 and requirements for the Settlement Conference. The Settlement Conference date may

 not be extended without prior approval from the Magistrate Judge. Except as provided

 under Local Rule 16.2(e), the appearance of counsel and each party, or representatives

 of each party with full authority to enter into a full and complete settlement, is mandatory.

 Appearance shall be in person; telephonic appearance is prohibited absent court order.

 All discussions, representations, and statements made at the settlement conference shall

 be confidential and privileged. If the case is settled at the settlement conference, counsel

 shall promptly notify the Court by filing a notice of settlement signed by counsel of record

 within seven (7) days of the conference.

    5. In the event the settlement conference is unsuccessful, all parties are required to

 participate in subsequent mediation, which shall take place by the deadline contained in

 the Court’s Scheduling Order, entered separately.




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    6. The parties are advised that the failure to comply with any of the procedures

 contained in this Order or the Local Rules may result in the imposition of appropriate

 sanctions, including, but not limited to, the dismissal of this action or entry of default.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 11th day of

 May 2020.




 Copies to counsel of record via CM/ECF




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